Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 1 of 12 PageID# 1508




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

  MUNA AL-SUYID et al.,                   )
                                          )
           Plaintiffs,                    )
                                          )
  v.                                      )       Case No. 1:20-cv-00170 (LMB/JFA)
                                          )
  KHALIFA HIFTER                          )
                                          )
           Defendant.                     )
                                          )

       DEFENDANT’S SECOND SUPPLEMENTAL RESPONSES TO PLAINTIFFS’
          FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

           Defendant Khalifa Hifter, by counsel, provides his supplemental responses to

  Plaintiffs’ first set of requests for production of documents, pursuant to this Court’s

  Orders of October 1, 2021 and October 29, 2021. Mr. Hifter timely provided on August

  6, 2021, his objections to Plaintiffs’ first set of requests for production, which are

  incorporated herein. Mr. Hifter maintains that according to Libyan law, the crime of

  disclosing military secrets is punishable by death.

                              REQUESTS FOR DOCUMENTS

           1.     All documents and communications that Defendant may mark for

  identification or refer to at a deposition, pretrial proceeding, or introduce into

  evidence at trial, or about which he plans to question a witness at a deposition or

  trial.

           OBJECTION: Defendant objects to the extent that this Request calls for

  materials that are covered by the attorney-client privilege and the work product

                                              1
Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 2 of 12 PageID# 1509




  doctrine. Defendant further objects to the extent this request calls for materials that

  fall within the state secrets privilege, seeks confidential or classified information,

  and seeks military secrets.

        RESPONSE: Without waiving the above objections, see documents produced

  herewith.

        SUPPLEMENTAL RESPONSE: Subject to and without waiving any

  objections, Mr. Hifter produced responsive documents at KHIFTER-00001 –

  KHIFTER-00055.

        SECOND SUPPLEMENTAL RESPONSE: Pursuant to the Court’s Orders of

  October 1, 2021 and October 29, 2021, Mr. Hifter responds that he has additional

  documents which will be marked as Confidential and Attorneys Eyes Only, and will

  be produced upon entry of an appropriate protective order, expected on May 6, 2022.




        2.     All documents reflecting, memorializing, or pertaining to Defendant’s

  residency of a particular state and district in the United States.

        OBJECTION: Defendant objects to this Request on the grounds that it is not

  reasonably related to the claims or defenses in this litigation or proportional to the

  needs of the case as Defendant’s residency in the United States is not an issue in

  this case. Defendant further objects as the request is overly broad and unduly

  burdensome as the request is not limited in time or scope or designed to lead to the

  discovery of evidence reasonably related to the claims or defenses in this litigation

  as the Defendant’s residency is not an issue in this case.
                                            2
Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 3 of 12 PageID# 1510




         RESPONSE: Without waiving the above objections, no such documents exist.



         3.    All documents and communications reflecting, memorializing, or

  pertaining to Defendant’s involvement, activities, and leadership as the leader of the

  LNA.

         OBJECTION: Defendant objects to this Request on the grounds that it seeks

  documents that are not within Defendant’s possession or control and seeks an overly

  broad and unduly burdensome number of documents by seeking documents

  prepared by others and “all documents” pertaining to a variety of topics, including

  Defendant’s involvement, activities, and leadership as the leader of the LNA, with

  an unlimited time and scope. Plaintiffs seek documents from an unlimited

  timeframe pertaining to all actions of the Libyan military and Defendant’s

  involvement regardless of timeframe or relevance. Defendant further objects on the

  ground that this request is not designed to reasonably lead to the discovery of

  applicable or relevant information as the request is not limited in time to the

  particular incidents and particular dates in Plaintiffs’ Complaint. Defendant further

  objects to this request on the grounds that it requests materials that fall within the

  state secrets privilege, seeks confidential or classified information, and seeks

  military secrets.

         RESPONSE: Without waiving the above objections, see documents produced

  herewith.

         SUPPLEMENTAL RESPONSE: Subject to and without waiving any


                                            3
Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 4 of 12 PageID# 1511




  objections, Mr. Hifter produced responsive documents at KHIFTER-00001 and at

  KHIFTER-00053 – KHIFTER-00055.

        SECOND SUPPLEMENTAL RESPONSE: Per the Court’s Orders of October

  1, 2021 and October 29, 2021, no further response is required. To the extent that the

  scope of this request is limited to the acts alleged in the Complaint to have occurred

  on October 15–17, 2014, Mr. Hifter responds that he has no further responsive

  documents within his possession, custody, or control.



        4.     All documents and communications reflecting, memorializing, or

  pertaining to Defendant’s involvement, activities, and leadership in the launching of

  Operation Dignity.

        OBJECTION: Defendant objects to this Request on the grounds that it seeks

  documents that are not within Defendant’s possession or control and seeks an overly

  broad and unduly burdensome number of documents by seeking documents prepared

  by others and “all documents” pertaining to a variety of topics, including Defendant’s

  involvement, activities, and leadership in the launching of Operation Dignity, with

  an unlimited time and scope. Defendant further objects to this request on the

  grounds that it requests materials that fall within the state secrets privilege, seeks

  confidential or classified information, and seeks military secrets. Defendant further

  objects on the ground that this request is not designed to reasonably lead to the

  discovery of applicable or relevant information as the request is not limited in time

  to the particular incidents and particular dates in Plaintiffs’ Complaint.

                                            4
Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 5 of 12 PageID# 1512




        SECOND SUPPLEMENTAL RESPONSE: Per the Court’s Orders of October

  1, 2021 and October 29, 2021, the scope of this request is limited to the acts alleged

  in the Complaint to have occurred on October 15–17, 2014. Subject to that limitation,

  Mr. Hifter refers to the documents previously produced as KHIFTER00001–58. Mr.

  Hifter has no additional responsive documents within his possession, custody, or

  control.



        5.     All documents and communications reflecting, memorializing, or

  pertaining to Defendant’s command over LNA officials Major General Abdulrazaq

  al-Naduri and Wanis Bukamada.

        OBJECTION: Defendant objects to this Request on the grounds that it seeks

  documents that are not within Defendant’s possession or control and seeks an overly

  broad and unduly burdensome number of documents by seeking documents prepared

  by others and “all documents.” Defendant objects that the term “command” is vague

  and undefined. Defendant further objects on the ground that this request is not

  designed to reasonably lead to the discovery of applicable or relevant information as

  the request is not limited in time to the particular incidents and particular dates in

  Plaintiffs’ Complaint. Defendant further objects to this request on the grounds that

  it requests materials that fall within the state secrets privilege, seeks confidential

  or classified information, and seeks military secrets.

        SECOND SUPPLEMENTAL RESPONSE: Per the Court’s Orders of October

  1, 2021 and October 29, 2021, the scope of this request is limited to the acts alleged

                                             5
Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 6 of 12 PageID# 1513




  in the Complaint to have occurred on October 15–17, 2014. Subject to that limitation,

  Mr. Hifter refers to the documents previously produced as KHIFTER00001–58. Mr.

  Hifter has no additional responsive documents within his possession, custody, or

  control.



        6.     All documents and communications reflecting, memorializing, or

  pertaining to the attack perpetrated by the LNA against the al-Suyid family home

  on or about October 15, 2014.

        OBJECTION: Defendant objects to this Request on the grounds that it seeks

  documents that are not within Defendant’s possession or control and seeks an overly

  broad and unduly burdensome number of documents by seeking documents prepared

  by others and “all documents” pertaining to the attack on the al-Suyid family home,

  including those not in Defendant’s possession or control. Defendant further objects

  to this request on the grounds that it requests materials that fall within the state

  secrets privilege, seeks confidential or classified information, and seeks military

  secrets.

        SECOND SUPPLEMENTAL RESPONSE: Mr. Hifter has no responsive

  documents within his possession, custody, or control and he is not aware of any

  responsive documents.



        7.     All documents reflecting, memorializing, or pertaining to Defendant’s

  command over LNA officials Major General Jamal al-Zahawi and Colonel Almadi al-

                                            6
Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 7 of 12 PageID# 1514




  Bargathi.

        OBJECTION: Defendant objects to this Request on the grounds that it seeks

  documents that are not within Defendant’s possession or control and seeks an overly

  broad and unduly burdensome number of documents by seeking documents prepared

  by others and “all documents” pertaining to Defendant’s command over Major

  General Jamal al-Zahawi and Colonel Almadi al-Bargathi, including those not

  within Defendant’s possession or control. Defendant objects that the term

  “command” is vague and undefined. Defendant further objects to this request on the

  grounds that it requests materials that fall within the state secrets privilege, seeks

  confidential or classified information, and seeks military secrets. Defendant further

  objects on the ground that this request is not designed to reasonably lead to the

  discovery of applicable or relevant information as the request is not limited in time

  to the particular incidents and particular dates in Plaintiffs’ Complaint.

        SECOND SUPPLEMENTAL RESPONSE: Per the Court’s Orders of October

  1, 2021 and October 29, 2021, the scope of this request is limited to the acts alleged

  in the Complaint to have occurred on October 15–17, 2014. Subject to that limitation,

  Mr. Hifter refers to the documents previously produced as KHIFTER00001–58. Mr.

  Hifter has no additional responsive documents within his possession, custody, or

  control.



        8.     All documents and communications reflecting, memorializing, or

  pertaining to the attack perpetrated by the LNA against the al-Krshiny family home

                                            7
Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 8 of 12 PageID# 1515




  on or about October 17, 2014.


        OBJECTION: Defendant objects to this Request on the grounds that it seeks

  documents that are not within Defendant’s possession or control and seeks an overly

  broad and unduly burdensome number of documents by seeking documents prepared

  by others and “all documents” pertaining to the attack on the al-Krshiny family

  home, including those not within Defendant’s possession or control. Defendant

  further objects to this request on the grounds that it requests materials that fall

  within the state secrets privilege, seeks confidential or classified information, and

  seeks military secrets.

        SECOND SUPPLEMENTAL RESPONSE: Mr. Hifter has no responsive

  documents within his possession, custody, or control and he is not aware of any

  responsive documents.



        9.     All documents and communications supporting Defendant’s third,

  fourth and fifth affirmative defenses.

        OBJECTION: Defendant objects to this request to the extent it seeks

  documents that are protected by the attorney-client privilege or work product

  doctrine. Defendant further objects to this request for documents on the grounds

  that it requests materials that fall within the state secrets privilege, seeks

  confidential or classified information, and seeks military secrets. Defendant further

  objects that this request seeks documents relating to information otherwise known

  by or accessible to Plaintiffs, such as Plaintiffs’ involvement in the gunfights alleged
                                             8
Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 9 of 12 PageID# 1516




  in Plaintiffs’ Complaint.

        RESPONSE: Without waiving the above objections, see documents produced

  herewith.

        SUPPLEMENMTAL RESPONSE: Subject to and without waiving any

  objections, Mr. Hifter produced responsive documents at KHIFTER-00001 and at

  KHIFTER-00053 – KHIFTER-00055.

        SECOND SUPPLEMENTAL RESPONSE: Mr. Hifter has no additional

  responsive documents within his possession, custody, or control.



        10.    All recorded written orders by Defendant reflecting, memorializing, or

  pertaining to the activities conducted in furtherance of Operation Dignity.

        OBJECTION: Defendant objects to this Request on the grounds that it seeks

  documents that are not within Defendant’s possession or control and seeks an overly

  broad and unduly burdensome number of documents by seeking documents prepared

  by others and “all documents” pertaining to written orders or activities of Defendant

  during an entire military operation rather than the specific allegations contained in

  the Plaintiffs’ Complaint. Defendant objects that the phrase “activities conducted in

  furtherance of” is vague, undefined, unduly burdensome, and overbroad. Defendant

  further objects to this request on the grounds that it requests materials that fall

  within the state secrets privilege, seeks confidential or classified information, and

  seeks military secrets. Defendant further objects on the ground that this request is

  not designed to reasonably lead to the discovery of applicable or relevant information

                                            9
Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 10 of 12 PageID# 1517




   as the request is not limited in time to the particular incidents and particular dates

   in Plaintiffs’ Complaint.

         SECOND SUPPLEMENTAL RESPONSE: Per the Court’s Orders of October

   1, 2021 and October 29, 2021, the scope of this request is limited to the acts alleged

   in the Complaint to have occurred on October 15–17, 2014. Subject to that limitation,

   Mr. Hifter refers to the documents previously produced as KHIFTER00001–58. Mr.

   Hifter has no additional responsive documents within his possession, custody, or

   control.




         11.    All documents or communications that Defendant relied upon in

   drafting responses to the Plaintiffs’ First Set of Interrogatories, served with these

   Requests.

         OBJECTION: Defendant objects to this request to the extent it seeks

   documents that are protected by the attorney-client privilege or work product

   doctrine. Defendant further objects to the extent this requests materials that fall

   within the state secrets privilege, seeks confidential or classified information, and

   seeks military secrets.

         RESPONSE: Without waiving the above objection, Defendant relied in part

   upon his declaration provided herewith.

         SECOND SUPPLEMENTAL RESPONSE: Pursuant to the Court’s Orders of

   October 1, 2021 and October 29, 2021, Mr. Hifter responds that he has additional

   documents which will be marked as Confidential and Attorneys Eyes Only, and will
                                             10
Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 11 of 12 PageID# 1518




   be produced upon entry of an appropriate protective order, expected on May 6, 2022.


   Dated: May 4, 2022                           Khalifa Hifter
                                                By Counsel



                                           By: /s/ Jason C. Greaves
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                                           11
Case 1:20-cv-00170-LMB-JFA Document 205-2 Filed 06/03/22 Page 12 of 12 PageID# 1519




                              CERTIFICATE OF SERVICE

         I hereby certify that on May 4, 2022, a true and correct copy of the foregoing

   was served by electronic mail, pursuant to the parties’ agreement regarding email

   service, on:


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                                                /s/ Jason C. Greaves
                                                Jason C. Greaves

                                                Counsel for Defendant Khalifa Hifter
